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                     Exhibit 10
Case 1:18-cv-02192-HG-PK    Document
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                                                                        May 9, 2008

 BY FEDERAL EXPRESS

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                    Re:       Linde, et al. v. Arab Bank, PLC, 04-2799 (NG) (VVP), and related cases
                              ABPLC211469 - ABPLC213589

 Dear Counsel:

                Enclosed please find a CD containing documents and OCR files for bates range
 ABPLC211469 - ABPLC213589, which have been designated as Highly Confidential pursuant
 to the August 1, 2005 Protective Order.

                  Arab Bank pic (the "Bank") produces these documents pursuant to Magistrate
 Judge Victor V. Pohorelsky's March 3, 2006 and May 7, 2007 Document Production Orders, as
 modified by the Magistrate Judge's Memorandum and Order of December 10, 2007, and the
 Plaintiffs' Joint Third Request for the Production of Documents. Please be advised that certain
 documents have been withheld in compliance with US law and in recognition of the bank
 examination privilege asserted by the OCC.


                                                                                      Very truly yours,



                                                                                      Ronald W. Zdrojeski
 Enclosure
 cc:    Attached Service List (by electronic mail without enclosure)


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